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             IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF MARYLAND

JAMES BUECHLER,                       *

     Plaintiff,                       *

v.                                    *        Case No.: 11-cv-3282

HILLMARK CORP.                        *

and DOES 1-10, inclusive,             *

     Defendants.                      *

*    *      *     *       *    *      *        *      *   *     *    *     *

      NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

     Plaintiffs dismiss this action with prejudice.

Dated: January 23, 2012                   Respectfully Submitted,



                                               /s/ E. David Hoskins
                                          E. David Hoskins, Bar No. 06705
                                          LAW OFFICES OF E. DAVID HOSKINS, LLC
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                           CERTIFICATE OF SERVICE

      I hereby certify that on this 23rd day of January, 2012, a copy of the foregoing
was served via e-mail on the following:

                                zjhog@comcast.net
                                Hillel Schwartzman


This 23rd day of January, 2012.                     /s/ E. David Hoskins




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